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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                          Civil Division


CONRAD SMITH, ET AL.

       Plaintiffs,                                    Civil Action No. 1:21-cv-02265-APM

v.

DONALD J. TRUMP FOR PRESIDENT,
INC., ET AL.

       Defendants.


              DEFENDANT KELLY MEGGS’ MOTION TO DISMISS
     AND INCORPORATED POINTS AND AUTHORITIES IN SUPPORT THEREOF

       COMES NOW the Defendant Kelly Meggs, by and through undersigned counsel, and

moves to dismiss Plaintiffs’, Conrad Smith, Danny McElroy, Byron Evans, Governor Latson,

Melissa Marshall, Michael Fortune, Jason Deroche, (“Plaintiffs”), Complaint pursuant to Rules

12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure, for lack of jurisdiction and failure

to state a claim upon which relief can be granted. The attached Memorandum of Points and

Authorities, Table of Cases and a Proposed Form of Order, all incorporated herein, also further

support the Motion.




                               [SIGNATURE ON NEXT PAGE]
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Dated: November 12, 2021                       Respectfully Submitted,



                                                       /s/ Juli Z. Haller
                                               Julia Z. Haller (#466921)
                                               Law Offices of Julia Haller
                                               601 Pennsylvania Avenue, NW
                                               S. Building, Suite 900
                                               Washington, D.C. 20004
                                               Tel: 202.729.2201
                                               hallerjulia@outlook.com
                                               Counsel for Defendant, Kelly Meggs


                                  CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 12th day of November, 2021, a copy of the foregoing Motion

to Dismiss, the attached Memorandum in support thereof, and the Proposed Form of Order was

filed electronically to serve all counsel of record.



                                                       /s/ Juli Z. Haller
                                               Julia Z. Haller




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